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  t996R043951cwm


                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                       :         Criminal No. 02-714 (WHW)

                   V.


  SALOMON CAMACHO MORA,
   a/k/a “El Viejo,”
   a/k/a “Papa Grande,”
   a/k/a “Hector,”
  HERMAGORAS GONZALEZ-POLANCO,:
   a/k/a “Armando Gonzalez Apushana,”
   a/k/a “Gordito Gonzalez,”          :                                 ORDER
   a/k/a “Milciades,”
  MARCOS IVAN ESPINOZA DE LEON,
   a/k/a “Marquitos,”
  FNULNU,
   a/k/a “Raffi,” and
  HECTOR FABIO GARCIA,
   a/k/a “Rubin”



                   This matter having been opened to the Court on the application of Paul J.

  Fishman, United States Attorney for the District of New Jersey (Rodney C. Villazor, Assistant

  U.S. Attorney, appearing), and counsel for defendant SALOMON CAMACHO MORA, a/k/a

  “El Viejo,” a/k/a “Papa Grande,” a/k/a “Hector” (William A. Clay, Esq., appearing) having

  consented to the instant order, and good cause having been shown, the Court makes the

  following findings:

                   1. This case is sufficiently complex, due to the nature of the prosecution, and it is

  unreasonable to expect adequate preparation for pretrial proceedings and trial within the time

  limits established by Title 18, United States Code, Section 3161. For example, the case involves

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 numerous defendants, and numerous recorded calls that took place over the course of an

 extended period of time and involve the review, translation, transcription, and production of

 same.

                2.      The defendant is alleged to be a members of an international narcotics

 organization whose goal it was to smuggle cocaine from Colombia and elsewhere into the United

 States and to launder the proceeds of such activity. The allegations attendant with this case

 involve evidence from multiple countries.

                3.      Plea negotiations are currently in progress, and both the United States and

 the defendant desires additional time to negotiate a plea agreement, which would render a trial of

 this matter unnecessary. Defendant has requested the aforementioned continuance, and the

 United States has consented.

                4. The ends ofjustice served by a continuance of the trial date in this matter until

  April 16, 2012 outweigh the interest of the public and the defendant in a speedy trial.

                 IT IS, therefore, on thi      day of December, 2011,

                 ORDERED that the trial date in this matter is continued until April 16, 2012, and

  that the period of time from the date this Order is entered through April 16, 2012 shall be

  excluded for the puoses of computing time under the Speedy Trial Act pursuant to 18 U.S.C.

  § 3161 (h)(7)(A), (h)(7)(B)(ii), (h)(7)(B)(iv); and it is further ORDERED that pre-trial motions
  shall be filed upon further order of the Court.
                                                                               /


                                                          HON. wIWAi. WALLS
                                                          United States District Judge


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 Form and entry
 consented to:



 Rod y C. Villazor
 Assistant US, Alt rney




 WillIam A. C1ay Esq.      V
 Counsel for defendant SALOMON CAMACHO MORA




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